 Case 2:12-cr-20066-KHV          Document 1881        Filed 12/09/15      Page 1 of 17




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )                       CRIMINAL ACTION
v.                                  )
                                    )                       No. 12-20066-31-KHV
JULIUS SMITH,                       )
                                    )
                  Defendant.        )
____________________________________)

                               MEMORANDUM AND ORDER

       On March 31, 2014, the Court sentenced defendant to 180 months in prison. This matter is

before the Court on defendant’s letter (Doc. #1786) filed June 8, 2015, which the Court construes

as a pro se motion to reduce sentence under Amendment 782 to the United States Sentencing

Guidelines and 18 U.S.C. § 3582(c)(2). For reasons stated below, the Court overrules defendant’s

motion.1

       A federal district court may modify a defendant’s sentence only where Congress has

expressly authorized it to do so. See 18 U.S.C. § 3582(c); United States v. Blackwell, 81 F.3d 945,

947 (10th Cir. 1996). Defendant seeks relief under Section 3582(c)(2), which permits the Court to

reduce a sentence if defendant has been sentenced to a term of imprisonment “based on a sentencing

range that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C.

994(o).” 18 U.S.C. § 3582(c). If eligible, the Court may reduce defendant’s term of imprisonment

after considering any applicable factors set forth in Section 3553(a), “if such a reduction is



       1
               The Court is not required to hold a hearing under Section 3582(c)(2). See U.S.S.G.
§ 1B1.10(a)(3) (proceedings under Section 3582(c)(2) and policy statement do not constitute full
resentencing); Fed. R. Crim. P. 43(b)(4) (defendant need not be present when proceeding involves
reduction under Section 3582(c)).
 Case 2:12-cr-20066-KHV          Document 1881         Filed 12/09/15     Page 2 of 17




consistent with applicable policy statements issued by the Sentencing Commission.” 18 U.S.C.

§ 3582(c); see Dillon v. United States, 560 U.S. 817, 826-27 (2010); United States v. Green, --- F.

App’x ----, 2015 WL 5316506, at *3 (10th Cir. Sept. 14, 2015).

       Here, after defendant filed his motion, Kirk Redmond, an Assistant Federal Public Defender,

negotiated with government counsel and the parties submitted an agreed order on AO Form 247.2

The parties propose a reduction of defendant’s term of imprisonment from 180 months to

149 months. For reasons stated below, however, the Court declines to reduce defendant’s term of

imprisonment.

I.     Defendant Is Eligible For Relief Under Amendment 782

       Section 3582(c)(2) sets forth a two-step inquiry. First, as a matter of law, the Court must

determine whether a sentence reduction is authorized under the statute. United States v. White, 765

F.3d 1240, 1245 (10th Cir. 2014). Second, as a matter of discretion, the Court determines whether

an authorized reduction is warranted. Id. In the second step, Section 3582(c)(2) directs the court

to consider the Section 3553(a) sentencing factors and whether a reduction is consistent with policy

statements from the Sentencing Commission.

       Defendant asks the Court to reduce his sentence based on Amendment 782, which took effect

on November 1, 2014 and generally lowers by two levels the base offense levels in the Drug

Quantity Table. On July 18, 2014, the United States Sentencing Commission voted to apply the

amendment retroactively to those offenders currently in prison, with a requirement that reduced



       2
                The Honorable J. Thomas Marten of the District of Kansas appointed the Office of
the Federal Public Defender to represent any defendant previously determined to have been entitled
to appointment of counsel, or who is now indigent, to determine whether that defendant may qualify
for relief under Amendment 782.

                                                -2-
 Case 2:12-cr-20066-KHV          Document 1881         Filed 12/09/15      Page 3 of 17




sentences not take effect until November 1, 2015. See Amendment 788. The parties agree that

defendant is eligible for relief. A defendant is eligible for relief if he was sentenced to a term of

imprisonment “based on a sentencing range that has subsequently been lowered by the Sentencing

Commission pursuant to 28 U.S.C. 994(o).” 18 U.S.C. § 3582(c). Here, the Court sentenced

defendant to 180 months in prison based on the statutory mandatory minimum (240 months) and the

government request to reduce defendant’s sentence by 25 percent under 18 U.S.C. § 3553(e) in light

of his assistance to authorities.3 In determining the value of defendant’s assistance and his actual

sentence, the Court (at sentencing) and the government (in its Section 3553(e) motion and at

sentencing) did not rely on the guideline range that would have applied if the mandatory minimum

had not applied. Even so, defendant appears to be eligible for relief under Amendment 782.

       The Supreme Court instructs that in determining whether defendant is eligible for relief,

district courts must follow the Sentencing Commission Policy Statement on implementation of

retroactive amendments which reduce defendant’s guideline range. Dillon, 560 U.S. at 827;

U.S.S.G. § 1B1.10, Reduction In Term Of Imprisonment As A Result Of Amended Guideline Range

(Policy Statement). Under Section 1B1.10(c), the Sentencing Commission has provided an

exception to statutory minimum sentences for cases involving substantial assistance, as follows:

       If the case involves a statutorily required minimum sentence and the court had the
       authority to impose a sentence below the statutorily required minimum sentence
       pursuant to a government motion to reflect the defendant’s substantial assistance to
       authorities, then for purposes of this policy statement the amended guideline range


       3
               Defendant had a total offense level of 29 with a criminal history category IV for a
guideline range of 121 to 151 months. See Presentence Investigation Report (Doc. #1346) filed
March 10, 2014, ¶ 152. Under Section 5G1.1 of the Sentencing Guidelines, the statutory minimum
of 20 years trumped defendant’s calculated guideline range under 21 U.S.C. §§ 841(b)(1)(A) and
851. See id., U.S.S.G. § 5G1.1 (sentence on single count of conviction); see also U.S.S.G. § 5G1.2
(similar trumping rule for multiple counts).

                                                -3-
 Case 2:12-cr-20066-KHV           Document 1881         Filed 12/09/15       Page 4 of 17




       shall be determined without regard to the operation of § 5G1.1 (Sentencing on a
       Single Count of Conviction) and § 5G1.2 (Sentencing on Multiple Counts of
       Conviction).

U.S.S.G. § 1B1.10(c). The parties apparently assume that defendant falls into this category.

       The commentary to Section 1B1.10(c) appears to apply to a narrow class of defendants who

received reductions under Section 3553(e) and who had guideline ranges slightly above the statutory

minimum or ranges that included the statutory minimum.4 As part of the background discussion for

Amendment 780 (now revised Section 1B1.10(c)), however, the Sentencing Commission has

indicated that Section 1B1.10(c) applies to defendants with guideline ranges that are much lower

than the statutory minimum. See U.S.S.G. Supp. to App. C, Amend. 780 (Reason for Amendment),

at 56 (Nov. 1, 2015). In particular, the Sentencing Commission noted disagreement about how to

apply Section 1B1.10(c) in a case where defendant originally received a sentence of 96 months,

reflecting a 60 percent reduction below the statutory minimum of 240 months and an otherwise

applicable guideline range of 140 to 175 months. See id. The Sentencing Commission adopted the

view that in a sentence reduction proceeding, the district court should use defendant’s amended

guideline range of 110 to 137 months without regard to the statutory minimum or the trumping

provisions of Sections 5G1.1 and 5G1.2.5 See id. Before the Sentencing Commission amended


       4
                The Commentary to Section 1B1.10(c) refers to “defendant A” who received a
sentence based on a range which was above the statutory minimum and “defendant B” who received
a sentence based on a statutory minimum of 120 months which was within the range that would have
otherwise applied but for the statutory minimum (108 to 135 months). See Commentary to U.S.S.G.
§ 1B1.10, App. Note 4 (Nov. 1, 2015). For both defendants in the commentary, the district court
based its original sentence at least in part on the guideline range that but for the statutory minimum,
would have applied.
       5
              In the case example, if defendant received a “comparable” reduction, the amended
sentence would be 44 months in prison, reflecting a 60 percent reduction from the low end of the
                                                                                   (continued...)

                                                 -4-
 Case 2:12-cr-20066-KHV           Document 1881         Filed 12/09/15       Page 5 of 17




Section 1B1.10(c), circuits had “conflicting interpretations of when, if at all, § 1B1.10 provides that

a statutory minimum continues to limit the amount by which a defendant’s sentence may be reduced

under 18 U.S.C. § 3582(c)(2) when the defendant’s original sentence was below the statutory

minimum due to substantial assistance.” U.S.S.G. Supp. to App. C, Amend. 780, at 55 (Reason for

Amendment) (Nov. 1, 2015). To resolve the circuit split, the Sentencing Commission issued

Amendment 780 to clarify that if defendant originally received a reduced sentence below the

statutory minimum because of Section 3553(e), the district court should calculate defendant’s

amended guideline range without regard to the trumping provisions of Sections 5G1.1 and 5G1.2

involving statutory minimums.6 See id.

       In a recent unpublished opinion, the Seventh Circuit held that in ruling on Amendment 782

motions for cooperators, district courts should no longer consider the effect of the statutory




       5
      (...continued)
amended guideline range.
       6
               The Sentencing Commission stated the reason for Amendment 780 as follows:

       This clarification ensures that defendants who provide substantial assistance to the
       government in the investigation and prosecution of others have the opportunity to
       receive the full benefit of a reduction that accounts for that assistance. See USSG
       App. C Amend 759 (Reason for Amendment). As the Commission noted in the
       reason for that amendment: “The guidelines and the relevant statutes have long
       recognized that defendants who provide substantial assistance are differently situated
       than other defendants and should be considered for a sentence below a guideline or
       statutory minimum even when defendants who are otherwise similar (but did not
       provide substantial assistance) are subject to a guideline or statutory minimum.
       Applying this principle when the guideline range has been reduced and made
       available for retroactive application under section 3582(c)(2) appropriately maintains
       this distinction and furthers the purposes of sentencing.” Id.

U.S.S.G., Supp. to App. C, Amend. 780 (Reason for Amendment) (Nov. 1, 2015).


                                                 -5-
 Case 2:12-cr-20066-KHV           Document 1881          Filed 12/09/15      Page 6 of 17




minimum trumping provisions of Sections 5G1.1 and 5G1.2. United States v. Freeman, 586 F.

App’x 237, 239 (7th Cir. 2014) (citing U.S.S.G. § 1B1.10(c)). In Freeman, the district court

originally imposed a statutory minimum sentence of 240 months, which was below defendant’s

guideline range of 292 to 365 months. See Freeman, 586 F. App’x at 237. On a Rule 35(b) motion,

the Court later reduced defendant’s sentence to 180 months. See id. at 239. The district court

denied defendant’s motion under Section 3582(c)(2) because it had initially sentenced him based

on a statutory minimum. See id. The Seventh Circuit vacated the ruling and stated that the district

court should consider whether defendant was eligible for a reduced sentence given that his amended

range of 151 to 188 months was less than his sentence of 180 months. See id. The Seventh Circuit

noted that in light of Amendment 780, Section 5G1.1 no longer impacts defendant’s eligibility for

a reduced sentence. See id.7

        Several district courts have also found that where the government initially filed a motion

under Section 3553(e) or Rule 35(b), the trumping provisions of Sections 5G1.1 and 5G1.2 do not

apply in calculating the amended guideline range.                   In United States v. Jerrell,


        7
                At least one district court reached a similar ruling on the availability of relief under
the retroactive cocaine base amendments (Amendments 706 & 750). In United States v. Mintz,
No. 1:08-cr-40-MR-1, 2014 WL 6680401 (W.D.N.C. Nov. 25, 2014), the district court stated as
follows:

        The purpose of Amendment 780 is for those defendants, who received substantial
        assistance departures at their original sentencing hearings, to receive the full benefit
        of retroactive cocaine base Guidelines Amendment 750 reductions previously
        precluded by operation of U.S.S.G. §§ 5G1.1 or 5G1.2. Id. If the Court were to
        apply [United States v. Goodwyn, 596 F.3d 233 (4th Cir. 2010)] as the Government
        argues, it would completely negate the effect of Amendment 780 as intended by the
        Sentencing Commission. Further, it does not appear to the Court that such a result
        was anticipated or precluded by the Court of Appeals opinion in Goodwyn.

Id. at *3.

                                                  -6-
 Case 2:12-cr-20066-KHV           Document 1881         Filed 12/09/15       Page 7 of 17




No. 3:13-CR-45-TAV-CCS, 2015 WL 4476434, at *2-3 (E.D. Tenn. July 22, 2015), the district court

stated as follows:

       defendants whose sentences were subject to the trumping provisions of
       sections 5G1.1 and 5G1.2 ordinarily are not eligible for a sentence reduction as a
       result of Amendment 782, because their original sentences were not based on a
       sentencing range that has subsequently been lowered by the Sentencing Commission,
       and a reduction would not be permitted by the applicable policy statements issued
       by the Sentencing Commission. See [United States v. Joiner, 727 F.3d 601, 604-09
       (6th Cir. 2013)] (finding that a defendant was not eligible for a sentence reduction
       under Amendment 750); United States v. Williams, 512 F. App’x 594, 597-600 (6th
       Cir. 2013) (same).

       Section 1B1.10(c) alters this analysis for defendants who have received a departure
       below a mandatory minimum sentence for their substantial assistance to the
       government. See 18 U.S.C. § 3553(e) (providing that a departure below a mandatory
       minimum sentence for a defendant's substantial assistance “shall be imposed in
       accordance with the guidelines and policy statements issued by the Sentencing
       Commission pursuant to section 994 of title 28, United States Code”). For this class
       of defendants, “the amended guideline range shall be determined without regard to
       the operation of § 5G1.1 (Sentencing on a Single Count of Conviction) and § 5G1.2
       (Sentencing on Multiple Counts of Conviction).” U.S. Sentencing Guidelines
       Manual § 1B1.10(c). Here, the defendant is among the class of defendants covered
       by section 1B1.10(c).

Jerrell, 2015 WL 4476434, at *2-3; see United States v. Guzman, No. 3:06-CR-91-TAV-HBG-1,

2015 WL 3866203, at *2 (E.D. Tenn. June 22, 2015).

       In light of the Sentencing Commission’s policy statement in Section 1B1.10(c), the Court

finds that defendant is eligible for relief under Amendment 782.8


       8
                Even though the Court must treat the Sentencing Commission policy statement in
Section 1B1.10 as mandatory, Dillon, 560 U.S. at 827, the Sentencing Commission has no authority
to reduce a minimum sentence mandated by statute. See United States v. Moody, 526 F. App’x 576,
579 (6th Cir. 2013); Hood, 556 F.3d at 233; United States v. Ganun, 547 F.3d 46, 47 (1st Cir. 2008).
Likewise, Section 3582(c)(2) does not explicitly authorize the Commission to expand the statutory
exception of Section 3553(e) that reductions below the statutory minimum be made only “so as to
reflect a defendant’s substantial assistance in the investigation or prosecution of another person who
has committed an offense.” 18 U.S.C. § 3553(e). The Court questions whether Congress has
                                                                                         (continued...)

                                                 -7-
 Case 2:12-cr-20066-KHV          Document 1881         Filed 12/09/15      Page 8 of 17




II.    A Sentence Reduction Is Not Warranted

       Even though defendant is eligible for relief under Section 3582(c)(2), the Court declines to

reduce his sentence. In determining whether a sentence reduction is warranted and the extent of any

reduction, the Court considers the factors set forth in 18 U.S.C. § 3553(a). See U.S.S.G. § 1B1.10.

In particular, among other factors, the Court must consider the nature, seriousness and circumstances

of the offense, defendant’s history and characteristics, the need to protect the public from further

crimes by defendant and any threat to public safety. United States v. Meridyth, 573 F. App’x 791,

794 (10th Cir. 2014); United States v. Osborn, 679 F.3d 1193, 1195-96 (10th Cir. 2012). While not

mandatory, the Court may also consider defendant’s post-sentencing conduct. Osborn, 679 F.3d at

1195; see Meridyth, 573 F. App’x at 794; U.S.S.G. § 1B1.10 cmt. n.1(B). Before addressing the

specific sentencing factors, the Court addresses several broader implications of a reduced sentence

in this case which necessarily impact the sentencing factors.

       A.      Section 3553(e) Authorizes Relief From Statutory Minimum For Limited Purpose
               To Reward Cooperation

       As noted, the Court may modify defendant’s sentence only where Congress has expressly

authorized it to do so. See 18 U.S.C. § 3582(c); Blackwell, 81 F.3d at 947. Courts likewise may

sentence defendant to a term of imprisonment below the statutory minimum only where Congress

has set forth a specific statutory exception. See United States v. Hood, 556 F.3d 226, 233-34 (4th



       8
         (...continued)
delegated authority to the Sentencing Commission to create an additional exception to statutory
minimum sentences by way of a retroactive amendment to the Guidelines and if Congress has done
so, whether that delegation of power is lawful. See United States v. Feauto, No. CR-12-3046, 2015
WL 7429591, at *5-13 (N.D. Iowa Nov. 23, 2015). Even so, the Court need not address these issues
because even assuming that defendant is eligible for relief, a sentence reduction is not warranted in
this case.

                                                -8-
 Case 2:12-cr-20066-KHV          Document 1881         Filed 12/09/15      Page 9 of 17




Cir. 2009) (only Congress can authorize departure from statutory minimum sentence); United States

v. Campbell, 995 F.2d 173, 175 (10th Cir. 1993) (when sentence fixed by statute, any exception to

statutory directive must also be given by statute). One statutory exception to the mandatory

minimum allows a court to impose a sentence below a level which a statute establishes as a

minimum sentence “to reflect a defendant’s substantial assistance in the investigation or prosecution

of another person who has committed an offense.” 18 U.S.C. § 3553(e). As noted above, the Court

sentenced defendant under this exception.

       This exception authorizes a court to sentence defendant below the statutory minimum, but

it does not necessarily permit the court to sentence within or below any guideline range that would

otherwise apply.9 See Hood, 556 F.3d at 233-35 (Section 3553(e) authorizes exception from

statutory minimum sentence for limited purpose of substantial assistance in investigation or

prosecution of others; neither Section 3553(e) nor guidelines provide sentencing range for such

departures); United States v. Pillow, 191 F.3d 403, 407 (4th Cir. 1999) (Section 3553(e) motion does

not restore otherwise applicable guideline range that would have applied absent statutory minimum;

statute allows for departure from – not removal of – statutorily required minimum sentence).

       Section 3553(e) does not permit the Court to further reduce defendant’s sentence based on

factors other than substantial assistance. United States v. A.B., 529 F.3d 1275, 1285 (10th Cir.

2008); Campbell, 995 F.2d at 175. In other words, after a district court reduces a sentence below

a statutory minimum under Section 3553(e), it cannot reduce the sentence further based on the

general sentencing factors in Section 3553(a). See United States v. Mendoza-Haro, 595 F. App’x



       9
              Here, defendant’s sentence of 180 months was well above the guideline range of 121
to 151 months that otherwise would have applied.

                                                -9-
Case 2:12-cr-20066-KHV            Document 1881          Filed 12/09/15       Page 10 of 17




829, 833-34 (10th Cir. 2014). The Tenth Circuit has noted as follows:

       [Defendant] argues that a portion of § 3553(e)’s second textual sentence which
       specifies that the criminal sentence “shall be imposed in accordance with the
       guidelines” should have been judicially excised after Booker. See Aplt. Op. Br. at
       13. The effect, [defendant] reasons, would have been to permit the district court to
       operate under an advisory Guidelines system. And, in so doing, the district court
       would have been obliged to consider - in addition to defendant’s substantial
       assistance - § 3553(a) factors in imposing a sentence below the statutory minimum.
       Id. at 13-14.10.

       In [United States v.] Yazzie, [407 F.3d 1139 (10th Cir. 2005),] we noted that
       “[s]ection 3553(b)(2) contains the same ‘shall impose’ language that made
       application of the Guidelines mandatory under § 3553(b)(1).” 407 F.3d at 1145. In
       Booker, the Court cured the mandatory Guidelines problem in part by excising
       § 3553(b)(1) from the Sentencing Reform Act. As a result, the Guidelines were
       rendered advisory and, thus, constitutional. Id. Accordingly, we reasoned that
       Booker also required us to excise § 3553(b)(2). Id. In sum, we stated: “Therefore,
       we hold that treating the Guidelines as mandatory - regardless of whether the
       defendant is sentenced under § 3553(b)(1) or § 3553(b)(2) - is error.” Id. at 1146.

       The Williams analysis, however, suggests the fatal flaw in [defendant’s] argument:
       Yazzie pertains to the constitutionality of restrictions on the district court’s discretion
       to sentence under the Guidelines; it does not speak to the constitutionality of
       statutory limitations on the district court’s authority to sentence below statutory
       mandatory minimums. See Williams, 474 F.3d at 1132 (noting that “while the
       [Booker] Court excised §§ 3553(b)(1) and 3742(e) from the Code, § 3553(e) was
       unmentioned”). And, because it does not speak to the constitutionality of such
       limitations, Yazzie, like the Booker decision on which it relies, “does not impact the
       pre-existing limitations embodied in § 3553(e).” Id.

A.B., 529 F.3d at 1282-83.

       In sum, relief from the statutory minimum under Section 3553(e) is limited “so as to reflect

a defendant’s substantial assistance in the investigation or prosecution of another person who has

committed an offense.” 18 U.S.C. § 3553(e). If the Court grants cooperators further relief under

Section 3582(c)(2), it would be expanding the statutory exception in Section 3553(e) to include a

further variance unrelated to defendant’s cooperation.




                                                  -10-
Case 2:12-cr-20066-KHV          Document 1881         Filed 12/09/15      Page 11 of 17




       B.      The Safety Valve Exception To Statutory Minimum Sentences Illustrates Why
               Cooperators Such As Defendant Should Not Receive Relief Under Amendment 782

       In the case of certain controlled substance offenses, under certain conditions, the so-called

“safety valve” allows a court to impose a sentence pursuant to a guideline range without regard to

any statutory minimum sentence. 18 U.S.C. § 3553(f); see also U.S.S.G. § 5C1.2. In particular, the

Court must find that the following five conditions have been met:

       (1) the defendant does not have more than 1 criminal history point, as determined
       under the sentencing guidelines;

       (2) the defendant did not use violence or credible threats of violence or possess a
       firearm or other dangerous weapon (or induce another participant to do so) in
       connection with the offense;

       (3) the offense did not result in death or serious bodily injury to any person;

       (4) the defendant was not an organizer, leader, manager, or supervisor of others in
       the offense, as determined under the sentencing guidelines and was not engaged in
       a continuing criminal enterprise, as defined in section 408 of the Controlled
       Substances Act; and

       (5) not later than the time of the sentencing hearing, the defendant has truthfully
       provided to the Government all information and evidence the defendant has
       concerning the offense or offenses that were part of the same course of conduct or
       of a common scheme or plan, but the fact that the defendant has no relevant or useful
       other information to provide or that the Government is already aware of the
       information shall not preclude a determination by the court that the defendant has
       complied with this requirement.

18 U.S.C. § 3553(f).

       The safety valve, Section 3553(f), and the substantial assistance provision, Section 3553(e),

provide two methods for the Court to sentence below a statutory minimum. These two methods,

however, provide very different means to do so. United States v. Altamirano-Quintero, 511 F.3d

1087, 1090 n.6 (10th Cir. 2007). Congress had different plans in mind for the operation and effect

of the two provisions. United States v. Ahlers, 305 F.3d 54, 59 (1st Cir. 2002); see id. at 58

                                               -11-
Case 2:12-cr-20066-KHV          Document 1881          Filed 12/09/15      Page 12 of 17




(conclusion inescapable that two sections differ radically and that difference cannot be dismissed

as mere fortuity).

       The Tenth Circuit has highlighted the differences in Sections 3553(f) and 3553(e) as follows:

       [Section] 3553(f) requires the district court to disregard the mandatory minimum
       sentence when certain conditions are met. [Ahlers, 305 F.3d] at 59. The statute
       “demonstrates Congress’s ability to deploy unambiguous statutory language when
       it intends to authorize sentencing judges to ignore the limitations imposed by
       statutory minimum sentences and treat a ‘mandatory minimum’ case like any other.”
       Id. (emphasis added). In contrast, § 3553(e) “speaks in much more circumspect
       terms.” Id. It “retains the mandatory minimum as a reference point for a specific,
       carefully circumscribed type of departure.” Id. Section 3553(e) “opens the door for
       a departure below the otherwise applicable mandatory minimum - but only those
       reasons related to the nature and extent of the defendant's substantial assistance can
       figure into the ensuing sentencing calculus.” Id. at 60. In other words, unlike under
       § 3553(f), upon granting a § 3553(e) downward departure, a district court is not at
       liberty to treat the case “like any other,” but rather must focus only on substantial
       assistance considerations. As with the defendants in Ahlers, A.B. offers “no
       explanation” for why statutes that evince the kind of significant differences exhibited
       by § 3553(f) and § 3553(e) “should be deemed to march in lockstep.” Id. at 59. And
       we discern no such explanation.

A.B., 529 F.3d at 1284; see United States v. Jackson, 493 F.3d 1179, 1180 (10th Cir. 2007) (certain

individuals with comparatively clean records may be eligible for reduction in § 3553(f) and escape

normal operation of statutory minimum); Ahlers, 305 F.3d at 59 (Congress enacted safety valve to

mitigate harsh effects of mandatory minimum sentences on certain first-time offenders who played

relatively minor roles in drug trafficking schemes).

       By sentencing cooperators within the amended guideline ranges without regard to the

statutory minimum and the trumping provision of U.S.S.G. § 5G1.1, defendants essentially receive

a benefit similar to what they would receive if they were safety valve eligible. In other words,




                                                -12-
Case 2:12-cr-20066-KHV            Document 1881         Filed 12/09/15       Page 13 of 17




cooperators would receive amended sentences without regard to any statutory minimum.10 In light

of the basic differences between the safety valve provision of Section 3553(f) and the substantial

assistance provision of Section 3553(e), the Court questions whether Congress intended that

cooperators who initially received relief from the statutory minimum under Section 3553(e) should

receive a reduced sentence under Section 3582(c)(2) without regard to the statutory minimum. As

explained above, the Sentencing Commission has authorized such relief. Even so, the Court finds

that granting such relief to all cooperators is contrary to the statutory differences of Section 3553(f)

and Section 3553(e).

        C.       A Reduced Sentence Within Or Below Amended Range Would Significantly Inflate
                 The Judicial Determination Of Extent Of Defendant’s Cooperation

        To illustrate why cooperators who received relief from the statutory minimum based on

Section 3553(e) should not receive further relief from the statutory minimum under

Amendment 782, the Court briefly examines cases which involve a statutory minimum of

240 months where the district court granted further relief under Amendment 782. The following

chart shows that a reduction in such cases leads to an exaggerated evaluation of defendant’s

cooperation:11


        10
                The Court recognizes that in most circumstances, the Guidelines require a decrease
of two levels off the base offense level if defendant qualifies for safety valve relief. See
U.S.S.G. § 5C1.2 (offense level of defendant eligible for safety valve relief and otherwise subject
to statutory minimum of five years may not be reduced below 17). Here, of course, defendant does
not receive this additional benefit.
        11
               United States v. Bullard, No. 3:01-cr-107, 2015 WL 5943202, at *1-2 (E.D. Tenn.
Oct. 13, 2015); United States v. Brickner, No. 2:12-cr-019, 2015 WL 5513407, at *2-3 (E.D. Tenn.
Sept. 16, 2015); United States v. Jerrell, No. 3:13-cr-45, 2015 WL 4476434, at *1-5 (E.D. Tenn.
July 22, 2015); United States v. Guzman, No. 3:06-CR-91-TAV-HBG-1, 2015 WL 3866203, at *3
(E.D. Tenn. June 22, 2015); United States v. Turman, No. 3:05-CR-92-TAV-HBG-1, 2015 WL
                                                                                   (continued...)

                                                 -13-
Case 2:12-cr-20066-KHV                 Document 1881              Filed 12/09/15     Page 14 of 17




                 Statutory   Original         Original %             Amended        Amended       Amended %
                 Min.        Sentence after   Reduction              Range (w/o     Sentence      Reduction
                 (months)    Sec. 3553(e)     From Stat.             reference to   (months)      From Stat.
                             (months)         Minimum                stat. min.)                  Minimum

 Bullard         240         180              25%                    78-97          59            75.4%

 Brickner        240         151              37%                    70-87          87            63.8%

 Jerrell         240         180              25%                    78-97          59            75.4%

 Guzman          240         144              40%                    78-97          47            80.4%

 Turman          240         192              20%                    100-125        80            66.7%

 Harshaw         240         144              40%                    70-87          42*           82.5%
                                                                                    Time Served



In the above cases, defendants received a reduction of approximately two to three times more than

the original reduction below the statutory minimum. By applying Section 1B1.10(c) to disregard

the statutory minimum in calculating defendant’s eligibility for relief and re-sentencing defendants

based on the amended guideline range, courts have effectively allowed an additional variance from

the statutory minimum based on factors other than defendant’s cooperation. As explained above,

Section 3553(e) prohibits courts from granting additional variances using Section 3553(a) factors

to further reduce defendants’ sentences below the statutory minimum.

           By applying Section 1B1.10(c) to sentence defendant within or below the otherwise

applicable range (reduced by two levels) and unrestricted by Section 3553(e), the Court would be

essentially granting cooperators who were sentenced before Amendment 782 much lower sentences

than cooperators who are sentenced under the current Guidelines. The Eleventh Circuit has

explained the purpose of retroactive guideline amendments as follows:

           The purpose of § 3582(c)(2) is to give a defendant the benefit of a retroactively

           11
        (...continued)
2169258, at *2 (E.D. Tenn. May 8, 2015); United States v. Harshaw, No. 3:06-cr-127, 2015 WL
756757, at *1-2 (E.D. Tenn. Feb. 23, 2015).

                                                           -14-
Case 2:12-cr-20066-KHV          Document 1881         Filed 12/09/15     Page 15 of 17




       applicable amendment to the guidelines. That provision gives the defendant an
       opportunity to receive the same sentence he would have received if the guidelines
       that applied at the time of his sentencing had been the same as the guidelines that
       applied after the amendment. But he is not to receive a lower sentence than he would
       have received if the amendment had been in effect at the time of his sentencing. The
       goal is to treat a defendant sentenced before the amendment the same as those
       sentenced after the amendment. That is why an amendment that alters the initial
       calculation of a guidelines range is not to be applied in a case where the difference
       in the initial calculation would have made no difference because a mandatory
       minimum would have trumped the initial calculation and dictated the final guidelines
       range anyway.

United States v. Glover, 686 F.3d 1203, 1206 (11th Cir. 2012) (emphasis added). Defendants who

are sentenced after Amendment 782 are subject to the restriction under Section 3553(e) that a court

may sentence defendant to a term below a mandatory minimum only to reflect the extent of

defendant’s cooperation. To allow defendants sentenced before Amendment 782 to receive a

reduction beyond that authorized in the current version of Section 3553(e) and the Guidelines would

create a significant disparity based on when a particular defendant was sentenced. As explained

above, retroactive Guideline amendments are intended to give defendants the same – not more

favorable – treatment as those sentenced under the current Guidelines.

       D.      Balancing Of Section 3553(a) Factors

       As noted, defendant originally had a total offense level of 29 with a criminal history

category IV for a guideline range of 121 to 151 months. See Presentence Investigation Report (Doc.

#1346) ¶ 152. By applying Amendment 782, defendant’s amended guideline range is 100 to

125 months (offense level 27, criminal history IV). The parties jointly propose a sentence of

149 months. The parties apparently arrived at their recommendation by calculating that defendant’s

original sentence of 180 months was 49 percent above the low end of the original guideline range

(121 months) that would have applied but for the statutory minimum. The parties suggest an


                                               -15-
Case 2:12-cr-20066-KHV            Document 1881         Filed 12/09/15       Page 16 of 17




amended sentence of 149 months which is 49 percent above the low end of the amended guideline

range (100 months). While the parties’ proposed approach has some appeal, because it does not

grossly increase the extent of the departure from the statutory minimum, the Court ultimately rejects

it as inconsistent with the Guidelines and the factors under Section 3553(a). In particular, the parties

do not suggest any basis for the Court to depart upward by 49 percent from the low end of the

amended guideline range when the Court granted a downward departure of 25 percent from the

actual guideline range of 240 months at defendant’s original sentencing. The Guidelines only permit

amended sentences that are “comparably less,”12 not comparably more, than the amended guideline

range.

         The Court gives significant weight to the seriousness of the offense which carries a statutory

minimum sentence of 240 months in prison and the extent of defendant’s cooperation, which the

government estimated and the Court agreed warranted a reduction of 60 months from the statutory

minimum. The Court also gives significant weight to “the need to avoid unwarranted sentence

disparities among defendants with similar records who have been found guilty of similar conduct.”

18 U.S.C. § 3553(a).        In particular, unlike the policy statement applicable to retroactive

amendments, the current version of the Guidelines provides no waiver of the trumping rules of

Sections 5G1.1 and 5G1.2. Accordingly, defendants sentenced under the current Guidelines with

the same drug quantity as this defendant and the same extent of cooperation as this defendant would

receive a sentence of 180 months in prison (25 percent less than the statutory minimum). In light

of the factors set forth in Section 3553(a) and the reasons set forth above and at the original


         12
             Absent a mandatory minimum, the Court may reduce defendant’s sentence in
accordance with the amended guidelines range and by an amount “comparably less than the
amended guideline range.” U.S.S.G. § 1B1.10(b)(2)(B).

                                                 -16-
Case 2:12-cr-20066-KHV          Document 1881         Filed 12/09/15     Page 17 of 17




sentencing on March 31, 2014, the Court finds that a sentence of 180 months in prison is sufficient

but not greater than necessary to meet the sentencing factors set forth in Section 3553(a).

Accordingly, the Court declines to reduce defendant’s sentence.

       IT IS THEREFORE ORDERED that defendant’s letter (Doc. #1786) filed June 8, 2015,

which the Court construes as a pro se motion to reduce sentence under Amendment 782 and

18 U.S.C. § 3582(c)(2), be and hereby is OVERRULED.

       Dated this 9th day of December, 2015 at Kansas City, Kansas.

                                             s/ Kathryn H. Vratil
                                             KATHRYN H. VRATIL
                                             United States District Judge




                                               -17-
